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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:00cr48LAC

PHILLIP L. NESMITH

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on August 1, 2005
Motion/Pleadings: MOTION FOR RECONSIDERATION TO REVERSE RULING ON 1278-1
ON MOTION TO COMPEL PRODUCTION OF DOCUMENTS ITEM #1273
Filed byDEFENDANT PRO SE                   on 8/1/05       Doc.# 1305
RESPONSES:
                                           on              Doc.#
                                           on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ / Mary Maloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon consideration of the foregoing, it is ORDERED this 1st day of
August, 2005, that:
(a) The relief requested is DENIED.
(b) Complaints against attorneys should be filed with the Florida Bar at
651 East Jefferson Street, Tallahassee, Florida 32399.


                                                             s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
